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 1

 2                              UNITED STATES DISTRICT COURT

 3                                      DISTRICT OF NEVADA

 4 Carlos Vargas-Gutierrez,                              Case No.: 2:20-cv-02350-KJD-NJK

 5           Petitioner,
                                                                             Order
 6 v.

 7 Chad Wolf, et al.,

 8           Respondents.

 9

10         Petitioner Carlos Vargas-Gutierrez filed a habeas corpus petition under 28 U.S.C. § 2241

11 in the United States Court of Appeals for the Ninth Circuit. ECF No. 1. The Ninth Circuit

12 transferred the petition to this court. ECF No. 1-2. In his petition, Vargas-Gutierrez challenges

13 his continued detention by Immigration and Customs Enforcement (ICE). Having conducted an

14 initial review of the petition, the court will direct service of the petition on respondents and set

15 briefing deadlines.

16         IT IS THEREFORE ORDERED that Clerk re-designate the initiating document (ECF

17 No. 1) as a petition for writ of habeas corpus and SHALL SERVE copies of the petition and this

18 order upon respondents as follows:

19         1. By having the United States Marshal serve a copy of the petition (ECF No. 1) and this

20 order on the United States Attorney for the District of Nevada or on an Assistant United States

21 Attorney or clerical employee designated by the United States Attorney pursuant to Rule

22 4(i)(1)(A) of the Federal Rules of Civil Procedure.

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 1          2. By sending a copy of the petition (ECF No. 1) and this order by registered or certified

 2 mail to the following: (1) the Honorable Jeffrey A. Rosen, Acting Attorney General of the

 3 United States, Department of Justice, 950 Pennsylvania Ave. NW, Washington, DC 20530; (2)

 4 the Honorable Chad Wolf, Acting Secretary of the U.S. Department of Homeland Security,

 5 Washington, DC 20528; (3) Kerri Ann Quihuis, Field Office Director, United States Immigration

 6 and Customs Enforcement, 501 Las Vegas Blvd. S., Las Vegas, Nevada, 89101; and (4) Jeanne

 7 M. Kent, Officer in Charge, United States Citizenship and Immigration Services, 5650 Badura

 8 Ave., Suite 100, Las Vegas, Nevada, 89118.

 9          IT IS FURTHER ORDERED that respondents SHALL FILE AND SERVE an answer

10 or other response to the petition (ECF No. 1) within 20 days of the date that this order is entered,

11 unless for good cause additional time is allowed. Petitioner will thereafter have 14 days to file a

12 reply.

13          IT IS FURTHER ORDERED that all exhibits must be filed in accordance with LR IA

14 10-3 and LR IC 2-2 and include a separate index identifying each exhibit by number or letter.

15 The index must be filed in CM/ECF’s document upload screen as the base document to receive

16 the base docket number (e.g., ECF No. 10). Each exhibit must then be filed as an “attachment”

17 to the base document—the index—to receive a sequenced sub-docket number (e.g., Exhibit A

18 (ECF No. 10-1), Exhibit B (ECF No. 10-2), Exhibit C (ECF No. 10-3), and so forth). If the

19 exhibits will span more than one filing, the base document in each successive filing must be

20 either a copy of the index or volume cover page. See LR IC 2-2(a)(3)(A).

21          For this case, NO PAPER COURTESY COPIES are required.

22          Dated: December 30, 2020

23                                                           _________________________________
                                                             U.S. District Judge Kent J. Dawson

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